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 6
 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
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11
     NEMAN BROTHERS & ASSOC.,                     Case No.: 2:20-cv-11181-CAS-JPR
12   INC., a California Corporation;
13                                                NEMAN BROTHERS SUPPLEMENTAL
               Plaintiff/Counter-Defendant,       BRIEF
14
               vs.
15
16   INTERFOCUS, INC., a California
     Corporation, et al.,                         DATE: DECEMBER 6, 2021
17              Defendant/Counter-Claimant        TIME: 10 A.M.
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 1
                                              I.      Introduction
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        Interfocus sold illegal copies, and was sued in the prior case. Soon after settling the case,
 3
     Interfocus again sold illegal copies of the same subject designs. At the beginning, it argued it
 4
     obtained a release as to future infringements even though the release section clearly states the
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     release is given to the extent the liabilities were related to the sale of the then-accused garments
 6
     on or before the execution of the settlement agreement.
 7
        Seeing the argument not working, the defendant started arguing Neman’s designs might not
 8
     be original because they were still investigating about the similar designs widely available in the
 9
     open market and the websites in China, based on which the defendant even requested for a
10
     continuance of Neman’s summary judgment motion schedules. Decl of Weiwei Le (DKT 35-1),
11
     para. 14. The Court granted it. However, the defendant did not present any evidence as to any
12
     preexisting prior art negating the originality of the subject designs at all. At most, the defendants’
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     declarants Tao, Xiao and Chen claim it was widely available in China during the last two years,
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     not before 2017, the year the subject designs were registered. DKT. 66-6, 66-8, 66-13. One of
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     them also stated that a fabric supplier was willing and able to easily copy the subject designs
16
     without checking any copyright or license issue at all. Chen Decl. (DKT 66-13) para. 7-8.
17
        Seeing the argument not working again, the defendant added a new argument that the
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     accused garments “might” have been made out of the fabrics made under Neman’s order or
19
     permission. But it could not prove it “was” made out of the fabrics under Neman’s order or
20
     permission. There is no evidence. At most, the declarants state the fabrics are often times
21
     crossing the borders from Vietnam and China, and other illegal copies are widely available in
22
     China. DKT 66-8, para. 2-3. There is no evidence identifying the supplier of the accused fabrics
23
     or proving the supplier made the accused fabrics under Neman’s order or permission.
24
        The defendant never denied it did not have any preventive measure even after the prior case
25
     settled, which reckless and willful blindness the Ninth Circuit Court held sufficiently proves
26
     willful infringements. Unicolors, Inc. v. Urban Outfitters, Inc. 853 F.3d 980, 991-92 (9th Cir.
27
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 1   2017)1. While the defendant falsely stated it requested its suppliers to write a confirmation about
 2   the copyright issues, it never produced any single piece of paper to that effect, and its 30(b)(6)
 3   witness Weiwei Le (“Le”) admitted at her deposition there was no such thing, and the defendant
 4   never checked on the copyright issues.
 5       Le admitted at her deposition Interfocus took no preventive measure after the settlement of
 6   the prior case. While the Interfocus’ discovery responses falsely stated under penalty of perjury
 7   that it asked its vendors to execute a writing to confirm about the copyright issues (Exhibits 42
 8   (DKT 42-44, Interrogatory No. 18), and Exhibit 51), Le admitted there is simply no writing.
 9   Exhibit 52 (121:21-122:10). Interfocus did not have any measure, did not check its vendors
10   preventive measure, and did not have any employee in charge of the preventive measure. Exhibit
11   52 (85:22-86:15). Le stated it should be fine to freely use the subject designs only because it is
12   widely available in Chinese markets.
13
                                                II.     Arguments
14
         1. Defendant violated FRCP “Rules 26 and 37” by withholding the identities of
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            Gongwei Xiao, Zijia Chen and Changguan Tao and their contact in formation Until
16
            the date of filing their declarations.
17       Interfocus presented with its supplemental brief the declarations of the managers working for
18   Interfocus’ suppliers off the accused garments and a declaration of a director working for a fabric
19   supplier.
20
         First of all, Interfocus member identified or disclosed any of them throughout the whole case
21
     until the date of filing their declaration. In response to the plaintiffs interrogatories ask him about
22
     identity and contact information of potential witnesses, Interfocus never even mentioned the
23
     managers’ name or at least the company email addresses. Jeong Decl. para. 6. Further, Le’s
24
     declaration (DKT 46-1) clearly indicates Interfocus was contacting its suppliers in order to
25
     investigate about the source of the accused fabrics and other similar fabrics at least a while
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27
     1
28    A showing of recklessness or willful blindness is sufficient. Urban acted recklessly or with
     willful blindness to Unicolors’ copyright. Id.. (citing Wash. Shoe Co., 704 F.3d at 674).

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 1   before the date of declaration, August 2, 2021. Le Decl. (DKT 46-1) ⁋3. At her deposition,
 2   Weiwei Le admitted that Interfocus counsels and Can Wang were in contact with the managers.
 3   Exhibit 52 (44:9-14, 75:1-11). The declarations of the managers themselves clearly show do you
 4   were prepared by the counsels. DKT. 66-6, 66-8, 66-13. However, even to this date of filing this
 5   supplemental brief, Interfocus never supplemented their deficient responses.
 6       Interfocus did not provide any of the vender/supplier’s personnel as potential witnesses, or
 7   even a single page of any transaction records showing the claims sale of the accused fabrics or
 8   garments from any of Xinqi, Aibeibei or Yngfusi to Interfocus. Jeong Decl. para. 7. The
 9   individuals’ names were disclosed to Neman Brothers only in the form of their declarations filed
10   on November 1, 20212, only nine days before the discovery cutoff on November 10, 2021. Id.
11   Even during the time of negotiating and jointly filing the stipulation on October 22, 2021 (DKT
12   62) as to the deposition of Le, as the final stage of the discovery, and even after the Court
13   graciously granted the stipulated order (DKT 63) dated October 26, 2021 regarding adjusting the
14   discovery schedule, Interfocus and its counsels deliberately and intentionally kept it SECRET
15   while contacting them and drafting the declarations for them. Id.
16       This sandbagging game Interfocus and its counsels played, forms multiple violations of
17   FRCP rule 26 and rule 37. Interfocus’ initial disclosure admits it knew the suppliers by giving
18   only the company names and their mailing addresses in China, but no names of individuals,
19   phone number or email addresses. Exhibit 53. Rule 26 mandates the disclosure of (i) the name,
20   the address and telephone number of each individual likely to have discoverable information--
21   along with the subjects of that information--that the disclosing party may use to support its
22   claims or defenses, unless the use would be solely for impeachment; and (ii) a copy--or a
23   description by category and location--of all documents, electronically stored information, and
24   tangible things that the disclosing party has in its possession, custody, or control and may use to
25
26
27   2
       The Accused Garments were being sold in around September 2020, at which time, multiple
28   months before this case even began, Interfocus reasonably could, and should, have known who
     the so-called managers/directors who had knowledges about the accused products.

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 1   support its claims or defenses, unless the use would be solely for impeachment. F.R.C.P. R.26
 2   (West 2021).
            In addition, Interfocus would have not produced any witness from China for a deposition
 3
     anyways. Even as to Interfocus President Can Wang, who Weiwei Le admitted knew better than
 4
     her about the vendors/suppliers as she only relays the correspondences and the records between
 5
     Can Wang, the defendant’s counsels and its vendor Yinfusi. Exhibit 52 (75:1-11, 65:16-66:4).
 6
     However, when Neman’s counsel was asking for deposition of Wang, the defendant’s counsel
 7   refused to produce him claiming the Chinese laws would not allow it as he lives in China. Exhibit
 8   59. Along the same line, the defendant and its counsels would have not produced Xiao, Tao or
 9   Chen whose identities and contact information they concealed. In addition, while it is true that
10   the defendant’s counsels were in contact with the declarants, they did not produce the
11   correspondences with them even after the deposition of Le. Exhibit 52 (75:1-11).
12          This is the game they played. The defendant and its counsels were in close contact with the
13   declarants, but never disclosed them while providing only false information as discovery responses

14   as discussed above.3 As Rule 37 is self-executing, Ziao, Tao, and Chen should be excluded as

15   witnesses and their declarations should also be stricken and should not be considered in this case.

16
17       2. Defendant failed to present any admissible evidence establishing “independent
18          creation” defense.
19          None of the declarants discuss anything related to independent creation by Defendant, its
20   suppliers or sub-suppliers. Rather, the declarants made statements for the conclusion that the

21   accused patterns or similar patters were available online and in the open market, and typical
     fabric suppliers would and could easily make copies without checking on copyright or license
22
     issues. Zijia Chen stated he was told by a representative that his company “could manufacture
23
     the fabric or similar ones” and would not “require to show any proof that I worked for a
24
     company with a license from Neman Brothers.” Chen Decl. ⁋⁋8-9. In short, whatever design
25
     anybody brings in, the company could easily copy and would not even ask about copyrights or
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     3
28    In addition, the declarations full of vague hearsay statements with no foundation are all they
     could show after more than a year period.

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     license. This statement is nothing but an admission than the said Chinese company has been
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     producing illegal copies during the last three years. In addition, Changguan Tao allegedly
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     working for the supplier of the accused fabrics could not tell exactly who made the accused
 3
     fabrics. Tao could state merely a hearsay statement that “Xin Ran4 told me it purchased the
 4
     fabric from open fabric market in Guangdong, China.” There is no discussion about when,
 5   where, by whom, the accused fabrics were manufactured, with or without license at all.
 6          Further, as discussed in the motion, when two designs are “so strikingly similar” that “as
 7   a matter of logic, the only explanation [for the similarities] between the two works must be
 8   ‘copying rather than ... coincidence, the possibility of independent creation is excluded and
 9   copying may be proven without a showing of access”. 4–13 Nimmer on Copyright § 13.02[B]

10   (2009); Lipton v. Nature Co., 71 F.3d 464, 471 (2d Cir. 1995); Selle v. Gibb, 741 F.3d 896, 903
     (7th Cir. 1984)). As discussed in the motion, the subject designs and the accused patterns are
11
     virtually the same, which establishes more than striking similarity sufficiently showing the
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     accused patterns are products of copying, and which also sufficiently excludes a chance of
13
     independent creation.
14
            In other words, copying was made not as to a generic shape or typical expression that is
15   merged into an idea of drawing “flowers”, but objective details of the expression of the flowers,
16   stems and leaves, as well as their arrangement. Neman Exhibits 23, 24 and 25 (DKT Nos. 42-25,
17   42-26 and 42-27). A chance of two different works having the same expression of a flower in
18   objective details on flower buds, and their lining, shadings, arrangements and directions, by
19   coincidence of independent creation, is “extremely” low especially when the works have

20   extensive amounts of objective details. Further, the chance of the two works, in addition to
     having such identical expressions of a flower, also having identical expressions of multiple stems
21
     and leaves in the same objective details, by coincidence, would be even more extremely unlikely.
22
     Moreover, the chance of those flowers, stems and leaves as a combined element expressed in the
23
     same objective details to be put in the same arrangement and directions, by coincidence, would
24
     be even more extremely low. In addition, a chance for two designs to have more than one such
25   identical combined sets by coincidence would be close to impossible.
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28    The defendant never disclosed the name Xin Ran, her company name, or contact information.
     Jeong Decl. para. 8.

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            All of the purportedly similar designs the defendant’s declarants and expert claimed to
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     have found to be similar with the subject designs, were not even close to the subject designs as to
 2
     objective details while they were also expressing flowers. Exhibit 54, 57. The flower buds, their
 3
     lining, shading, arrangement and directions as individual element are different in the expressions
 4
     as to objective details. Id. The same is also true as to stems and leaves. Id. The same is true as to
 5   the combination of flowers, stems and leaves as a group element in each design, as to how they
 6   were combine. Id. In other words, the way they were arranged, and how each element was
 7   located and directed, in order to make a group element together. Id. Further, how those different
 8   group elements in the designs were again different, because having similarities to that levels as to
 9   each element, group elements and their arrangement, by coincidence, is simply impossible. Id.

10          On the other hand, the subject designs and the accused patterns are virtually the same, as
     to each element, group elements and their arrangement. Exhibit 55, 56 and 58.
11
            The only ways to logically explain such identities of the accused patterns and the subject
12
     designs are either both works being the products of copying the same prior art, or one work being
13
     the product of copying the other. However, as discussed below, Defendant failed to present any
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     admissible evidence to show existence of preexisting design that may attack the originality of the
15   subject designs, leaving that the accused patterns are the products of “copying” the subject
16   designs, as the only explanation for this case.
17
18      3. In August 2021, Defendant requested for a continuance of Neman’s MSJ hearing for
19          the sake of its belated investigation as if it had a lead to find pre-existing designs,

20          but ended up failing to present any admissible evidence establishing any “pre-
            existing design” negating the originality of the Subject designs.
21
            As to the preexisting designs, all Gongwei Xiao could state in her declaration were
22
     merely hearsay statements said by the alleged fabric supplier “Hengzhou”, not Xiao, “this fabric
23
     and very similar fabrics are available on the internet.” Xiao Decl. ⁋4. Xiao did not even bother
24
     giving the name of the Hengzhou person who said it. There was no disclosure. Jeong Decl. para.
25   5-9. Even assuming arguendo the said statement were admissible, it proves nothing about any
26   pre-existing design they may negate the originality of the subject designs. The Hengzhou
27   person’s hearsay statements goes on by saying “I have seen multiple offerings of garments in
28   such fabrics on Aliexpress in the past two years.” Again this proves nothing. rather it proves


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     those allegedly similar designs of available online maybe nothing but illegal copies because they
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     started becoming available only two years ago which is 2019, two years after the subject designs’
 2
     registrations.
 3
             In addition, as discussed above, the purportedly similar designs shown on the linked
 4
     pages are not similar with the subject designs at all. The only commonality between the said
 5   designs and the subject designs is the “idea” of using flowers as motifs. However, the
 6   “expressions” of the designs in “objective details” were very different while the accused patterns
 7   on the accused garments were virtually identical with the subject designs.
 8           Zijia Chen also failed to present any admissible statement. Chen also relays only a
 9   hearsay statement of the “representative”5 of a fabric company in China with no name or contact

10   information, stating “the company had been producing these fabrics below for some years, and at
     the latest, from 2019” which came after the subject designs. Chen Decl. ⁋8.
11
             Changguan Tao also made merely a hearsay statement that “XinRan told me it purchased
12
     the fabric from open fabric market in Guangdong, China” and a vague statement “this fabric is
13
     available on the internet. I have seen multiple offerings of garments made from this fabric on
14
     1688.” Chen Decl. ⁋8. The 1688.com website written in Chinese was present with no certified
15   translation. There is no information as to when the garments bearing the accused pattern were
16   made by whom.
17           None of Interfocus, its suppliers and its sub-suppliers knows when the accused patterns
18   were created by whom. Interfocus’ 30(b)(6) witness Weiwei Le at her deposition admitted she
19   had no information about the source of the accused fabrics either. Exhibit 52, 125:5-13. The

20   only reason Le could provide as to why Interfocus could use or sell the accused products was
     because they were in the “open market”. Exhibit 52 (121:12-19).
21
22
         4. Defendant failed to present any admissible evidence establishing the application of
23
             the “first sale doctrine”.
24
             The Ninth Circuit Court in Adobe Systems Inc. held;
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     5
28    This unknown person, so-called the representative was never disclosed either. Jeong Decl. para.
     8.

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                    Congress amended the Copyright Act in 1976 and revised the first
 1
                    sale defense. 17 U.S.C. § 109(a). Unlike its predecessor, the amended statute
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                    explicitly required that a defendant raising a first sale defense own the copy at
 3
                    issue. Id. (limiting the first sale defense to “the owner of a particular copy”
 4
                    (emphasis added)). The first sale defense did “not ... extend to any person who has
 5                  acquired possession of the copy ... from the copyright owner, by rental, lease,
 6                  loan, or otherwise, without acquiring ownership of it.” Id. at § 109(d)….
 7                  Supreme Court first analyzed § 109(a) in Quality King. Distinguishing between
 8                  the owner of a copy and a non-owner, such as a licensee, the Court emphasized
 9                  that “because the protection afforded by § 109(a) is available only to the ‘owner’

10                  of a lawfully made copy (or someone authorized by the owner), the first sale
                    doctrine would not provide a defense to ... any nonowner such as a bailee, a
11
                    licensee, a consignee, or one whose possession of the copy was unlawful.” 523
12
                    U.S. at 146–47, 118 S.Ct. 1125. In other -words, to claim the benefits of the first
13
                    sale defense, the holder of the copy must actually hold title.
14
                    Adobe Systems Inc. v. Christenson, 809 F.3d 1071, 1078-79 (9th Cir. 2015).
15          In this case, there is no evidence showing any part of the accused fabrics were in fact
16   made under Neman’s order, permission or license, or somehow the ownership of a certain copy
17   transferred to one of the suppliers in the supply chain of the accused fabrics. All Gongwei Xiao,
18   Zijia Chen and Changguan Tao could present were inadmissible hearsay statements with no
19   foundation. Even assuming arguendo they may be admissible, they stated merely the accused

20   fabrics or the fabrics bearing similar designs were “available” online or in an open market “since
     2019”. They could not even tell who manufactured the accused fabrics.
21
22
        5. As to the Issue of Validity of the Copyright Registrations, Interfocus’ supplemental
23         brief merely repeats the same argument mentioned in their second motion for
24         summary judgment (DKT. 68).

25      The same issues regarding the alleged omissions and errors in the copyright applications
26   raised by Interfocus’ second motion for summary judgment and already responded by Neman
27   Brothers’ opposition (DKT 71). therefore, instead of repeating the same arguments, Neman
28   Brothers would incorporate the arguments mentioned in its opposition. As discussed in Neman’s


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 1   opposition, Yoel Neman did not admit NB161106 was the exact same as purchased from
 2   Francesco. His testimony was about his general understanding about ‘x’ designation, not
 3   specifically the subject designs themselves. Adrineh Mokhtarians could and did explain
 4   specifically as to the procedure after the purchase of designs to make NB 161106 and NB
 5   180228. In addition, the purchased designs and the subject designs themselves are the best
 6   evidence showing the differences based on the modifications made by Neman’s designer. In
 7   other words, Mokhtarians’ statements about the subject designs are not in contradiction with
 8   Neman’s testimonies, but clearer and more specific supplementation. Notwithstanding the above,
 9   NB170268 is not subject to the above discussions anyways because it was internally created
10   using the prior works as an inspiration, not motifs for modification, in most of the parts if not all.
11       Further, even assuming Mokhtarians’ clearer and more specific statements about the subject
12   designs in her declaration is in conflict with Neman’s deposition statement, Rule
13   30(b)(6) testimony is not binding in the sense that it precludes the deponent from correcting,
14   explaining, or supplementing its statements. “[t]estimony given at a Rule 30(b)(6) deposition is
15   evidence which, like any other deposition testimony, can be contradicted and used for
16   impeachment purposes.” Snapp v. United Transportation Union, 889 F.3d 1088, 1104 (9th Cir.
17   2018) (quoting Keepers, Inc. v. City of Milford, 807 F.3d 24, 34 (2015) and A.I. Credit Corp. v.
18   Legion Ins. Co., 265 F.3d 630, 637 (2001)).
19
         6. Interfocus’ argument that copyright infringement claims in this case were released
20          by the prior settlement agreement it's nothing but an attempt to have a second bite
21          of the same apple.

22       The court in the prior ruling has already decided on this issue. However, Interfocus realizing
23   that it's failing to present real evidence to establish independent creation or the first sale doctrine,
24   attempts to again raise the same issue of release by the prior settlement. What Interfocus could
25   add this time was only the former counsel Linna Chen’s self-serving statement that she insisted
26   on adding the notice and cure provision through the agreement, which directly contradicts with
27   the contents of the emails exchanged with Neman Brothers’ counsel during the time of
28   negotiating the settlement agreement. Plaintiff's exhibits 26 and 29.


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        7. Defendant Never Denied the Willfulness of Its Infringement.
 2
        Neman argued Defendant’s infringement was willful because even after the settlement of the
 3
     Prior Case, Defendant did not have any reasonable preventive measures to avoid a copyright
 4
     infringement and the subsequent infringements were committed within a few months from the
 5   date of the settlement of the prior case.
 6      Le admitted at her deposition Interfocus took no preventive measure after the settlement of
 7   the prior case. While the Interfocus’ discovery responses falsely stated under penalty of perjury
 8   that it asked its vendors to execute a writing to confirm about the copyright issues (Exhibits 42
 9   (DKT 42-44, Interrogatory No. 18), and Exhibit 51), Le admitted there is simply no writing.

10   Exhibit 52 (121:21-122:10). Interfocus did not have any measure, did not check its vendors
     preventive measure, and did not have any employee in charge of the preventive measure. Exhibit
11
     52 (85:22-86:15).
12
        The real problem lies upon Interfocus’ irresponsible attitude as to the copyrights issues. Le
13
     on behalf of Interfocus and other declarants from Interfocus’ vendors are saying it should be fine
14
     because the fabrics bearing the subject designs were everywhere in open markets and online, and
15   even without checking copyright issues, fabric suppliers would be willing and able to easily copy
16   any designs. This attitude appears to be pandemic in China, which may go without liabilities in
17   Chinese courts, but not in the Courts in the U.S. especially the infringers are “repeatedly”
18   displaying and selling the illegal copies in the U.S. market in violations of American businesses’
19   designs, which is the products of time and efforts spent by the copyright owners.

20      This way, it is obvious that Interfocus and its vendors would not care at all as to others’
     copyrights and continue to sell illegal copies without checking the copyright ownership issues,
21
     which is a classic example of willful infringement.
22
23
                8. Debora Young’s declaration should not be considered.
24
        Under Rule 56(c)(4), the expert must back up his or her opinion with specific facts:
25   “Expert opinion is admissible and may defeat summary judgment if it appears the affiant is
26   competent to give an expert opinion and the factual basis for the opinion is stated in the affidavit,
27   even though the underlying factual details and reasoning upon which the opinion is based are
28   not.” Bulthuis v. Rexall Corp. (9th Cir. 1985) 789 F.2d 1315, 1318 (emphasis added); Brainard


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     v. American Skandia Life Assur. Corp. (6th Cir. 2005) 432 F3d 655, 664 (expert opinion must set
 1
     out facts and articulate logical line of reasoning); Heath v. Board of Supervisors for Southern
 2
     Univ. & Agricultural & Mechanical College (5th Cir. 2017) 850 F3d 731, 737)—
 3
     where expert gave no insight into his reasoning, proper to exclude expert's conclusory affidavit
 4
     from summary judgment analysis.
 5
        In this case, the defendant’s purport expert witness never produced any data or supporting
 6
     evidence. Young only pretends to discuss them in her declaration. She only states conclusory
 7
     statements as to the materials she reviewed, the identity and the origin of the purported similar
 8
     designs. While doing so, this so-called expert blatantly admits she would not disclose her full
 9
     report until about 2 weeks after the motion hearing. Young Decl. para. 1. Young would only
10
     conveniently pick and choose whatever educational and professional backgrounds she would like
11
     to discuss only, while completely failing to disclose what cases she worked on as an expert
12
     witness in the past.
13
        With no full disclosure or report, Neman would not be able to examine the so-called opinion,
14
     depose the expert and rebut with its own expert. Young intentionally avoids discussing how long
15
     time she worked this matter because she does not want to disclose how long the defendant’s
16
     counsels concealed the expert information until they filed her declaration with no proper
17
     disclosure at all, which would make Neman unable to examine even the report, supporting
18
     materials or even her prior experiences as an expert witness, as well as to prepare and submit its
19
     rebuttal expert.
20
        Young also admits Interfocus’ counsels specifically “asked” only to “summarize” instead of
21
     preparing a full disclosure and report, which is nothing but another sandbagging game Interfocus
22
     continued to play in this case. Young Decl. para. 1.
23
        Even assuming her declaration may be considered, for the reasons below, Young’s
24
     declaration does not establish any material facts for the defense.
25
        Her declaration claims the subject designs are common. “Idea” of drawing flowers maybe
26
     common, but she would not discuss at all that the subject designs’ expressions in objective
27
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 1   details are not common compared to what she presents as similar designs. The expert is
 2   intentionally confusing herself as to difference between “idea” and “expression”.6
 3         In fact, the designs themselves clearly show dissimilarities are shown by the designs
 4   themselves. Exhibits 54, 57. However, Young keeps saying the subject designs are not new or
 5   fresh, only because they had the “idea” of drawing flowers. She avoids discussing the differences
 6   as to expressions of the designs which makes the subject designs original compared to others.
 7   Even if an expert relies on valid scientific studies, a judge may properly exclude
 8   the expert's conclusions where there is “too great an analytical gap” between the data studied and
 9   the opinion proffered. General Elec. Co. v. Joiner (1997) 522 US 136, 146.
10         Young also claims the accused patterns are different from the subject designs. For example,
11   she stated “[a] closer inspection of the designs at issue reveals that although the Plaintiff’s and
12   Defendant’s designs share a concept and genre, they do not share the details of their designs.”
13   Young Decl. para. 12. But she would not discuss about the virtual identities of the works, shown
14   in Neman’s Exhibits 23-25. DKT No. 45-25, 45-26 and 42-27. Rather, she compares only
15   different parts by picking and choosing and rearranging in tricky ways.
16         While Young focuses on differences as to the center of the red flower and the clusters of the
17   white flowers, she would not discuss about how this high level of similarities between the two
18   works were the result of coincidence, not the result of one copying the other with deliberate
19   modifications of some detail in in a "crude effort to give the appearance of dissimilarity," which
20   itself evinces copying.
21         “It is entirely immaterial that, in many respects, plaintiff’s and defendant’s works are
22   dissimilar, if in other respects, similarity as to a substantial element of plaintiff’s work can be
23   shown.” (emphasis added) L.A. Printex Ind., 676 F. 3d. at 851 (citing 4 NIMMER ON
24   COPYRIGHT § 13.03[B] [1][a]). Thus, an analysis of similarity should focus on the elements
25   that are similar, not on the elements that are dissimilar. See 4 NIMMER ON COPYRIGHT §
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         If she did not know the difference, she does not qualify as an expert.

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 1   13.03[B] [1][a] (2017). Therefore, Young’s focusing on fining differences while being willfully
 2   blind to the obvious ‘virtual identities’ is simply off the point and irrelevant.
 3      “Fragmented literal similarity exists where the defendant copies a portion of the plaintiff's
 4   work exactly or nearly exactly, without appropriating the work's overall essence or structure.
 5   Newton v. Diamond, 388 F.3d 1189, 1195 (9th Cir. 2004). “[I]t is enough that substantial parts
 6   were lifted; no plagiarist can excuse the wrong by showing how much of his work he did not
 7   pirate.” (emphasis added) Sheldon v. Metro-Goldwyn Pictures Corp., 81 F.2d 49, 56 (2d Cir.
 8   1936). “Even if a copied portion be relatively small in proportion to the entire work, if
 9   qualitatively important, the finder of fact may properly find substantial similarity.” (emphasis
10   added) Shaw v. Lindheim, 919 F.2d 1353, 1363 (9th Cir. 1990).
11      Therefore, even if it is merely a small portion of the design, or arrangement of the elements,
12   the similarities will be sufficiently established. In this case, the side-by-side comparisons clearly
13   show high level of similarities that cannot be the result of coincidence as opposed to deliberate
14   copying.
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                                                III.      Conclusion
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17      Based on the above, the plaintiff's motion for summary judgment should be granted.

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19   Dated: November 23, 2021                          Respectfully submitted,

20                                                     /s/Chan Yong Jeong____
                                                       Chan Yong Jeong, Esq.
21                                                     Attorney for NEMAN BROTHERS
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